Case 1:24-cv-23940-BB Document 9 Entered on FLSD Docket 12/03/2024 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:24-cv-23940-BB

 VICTOR ARIZA,

        Plaintiff,

 vs.

 ECCO RETAIL LLC,
 a foreign limited liability
 company,

       Defendant.
 ____________________________ /

        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff VICTOR ARIZA, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 Procedure, hereby voluntarily dismisses all his claims in this action with prejudice, with each party

 to bear his/its own attorney’s fees and costs.

        Respectfully submitted,

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 By:    s/ Roderick V. Hannah                     By:   s/ Pelayo M. Duran
        RODERICK V. HANNAH                              PELAYO M. DURAN
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